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                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                             :

               v.                                    :       Criminal No. 09-744-05 (SD)

HAMZE EL-NAJJAR                                      :
    a/k/a “Hamze Al-Najjar”


                     GOVERNMENT'S SENTENCING MEMORANDUM

       The defendant actively participated in the trafficking of nearly $200,000 worth of

counterfeit and purportedly stolen goods. He committed this crime while residing in the United

States without any lawful immigration status. The defendant has already received substantial

leniency, as reflected in the stipulations in the parties’ plea agreement, and a Guidelines sentence

provides an appropriate punishment under all of the circumstances.

I.     BACKGROUND

       In November 2008, El-Najjar and his associates met with a cooperating witness (the

“CW”) in Philadelphia and Staten Island, New York, to purchase purportedly stolen electronics

and counterfeit Nike® shoes for resale. El-Najjar’s interactions with the CW were captured on

audio and video recordings. In a post-arrest statement, El-Najjar confirmed to law enforcement

officers that he participated in these offenses while knowing that the shoes were counterfeit and

knowing that the CW obtained the electronics “in an illegal way.” Following his arrest, law

enforcement officers found one of the purportedly stolen computers in El-Najjar’s home.

       On March 22, 2010, the defendant pleaded guilty to two counts relating to his

participation in conspiracies to traffic in counterfeit goods and transport stolen property in

interstate and foreign commerce, all in violation of 18 U.S.C. §§ 371, 2314, and 2320. The
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stipulations in the parties’ plea agreement agreed that, with respect to the electronics, the

government would only seek to hold Najjar responsible for the purportedly stolen computers and

not seek to prove his responsibility for the purportedly stolen cellular telephones based on the

greater clarity of Najjar’s knowledge of the stolen status of the computers.



II.    SENTENCING CALCULATION

       A.      Statutory Maximum Sentence.

       The statutory maximum sentences for each of the two counts of conviction are: 5 years

imprisonment, a $250,000 fine, three years supervised release, full restitution, and $100

mandatory assessment. Thus, the total maximum sentence is 10 years imprisonment, 3 years

supervised release, a $500,000 fine, full restitution, and a $200 mandatory assessment.

       B.      Sentencing Guidelines Calculation.

       The Probation Department’s Presentence Investigation Report (PSR) calculated the

defendant’s offense level to be 15, which, taken together with his Criminal History Category I,

yields an advisory guideline range of 18 to 24 months. The parties’ plea agreement stipulated

that the appropriate, advisory guideline range was 12 to 18 months (based on an offense level of

13), as described above. As part of that agreement, Najjar agreed not to request any further

downward departure on any grounds.



III.   ANALYSIS

       A thorough consideration of all of the sentencing factors set forth in 18 U.S.C. § 3553(a)

indicates that the most appropriate sentence is one within the advisory guideline range of 12 to

18 months.

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       The Supreme Court has declared: “As a matter of administration and to secure

nationwide consistency, the Guidelines should be the starting point and the initial benchmark.”

Gall v. United States, 552 U.S. 38 (2007). While the sentencing guidelines are advisory, they

remain the sole means available for assuring some measure of uniformity in sentencing,

fulfilling a key congressional goal in adopting the Sentencing Reform Act of 1984. Reference to

the guidelines, while carefully considering the 3553(a) factors particularly relevant to an

individual defendant, is the only available means of preventing the disfavored result of basing

sentences on the luck of the draw in judicial assignments. The Third Circuit explained:

               Even under the current advisory system, district courts must “meaningfully
       consider” § 3553(a)(4), i.e., “the applicable category of offense . . . as set forth in the
       guidelines.” The section of Booker that makes the Guidelines advisory explains that “the
       remaining system, while not the system Congress enacted, nonetheless continue[s] to
       move sentencing in Congress’ preferred direction, helping to avoid excessive sentencing
       disparities while maintaining flexibility sufficient to individualize sentences where
       necessary.” Booker, 543 U.S. at 264-65 (emphasis added). The Guidelines remain at the
       center of this effort to “avoid excessive sentencing disparities,” and, as the Booker Court
       explained, the Sentencing Commission will continue “to promote uniformity in the
       sentencing process” through the Guidelines. Id. at 263. We have likewise observed that
       the “‘Guidelines remain an essential tool in creating a fair and uniform sentencing regime
       across the country.’” Cooper, 437 F.3d at 331 (quoting United States v. Mykytiuk, 415
       F.3d 606, 608 (7th Cir. 2005)).

United States v. Ricks, 494 F.3d 394, 400 (3d Cir. 2007) (emphasis in original). Thus, the

Sentencing Guidelines remain an indispensable resource for assuring appropriate and uniform

punishment for federal criminal offenses.

       This Court must also consider all of the sentencing considerations set forth in Section

3553(a). Those factors include: (1) the nature and circumstances of the offense and the history

and characteristics of the defendant; (2) the need for the sentence imposed to reflect the

seriousness of the offense, to promote respect for the law, and to provide just punishment for the

offense; (3) the need to afford adequate deterrence to criminal conduct, and to protect the public

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from further crimes of the defendant; (4) the need to provide the defendant with educational or

vocational training, medical care, or other correctional treatment in the most effective manner;

(5) the guidelines and policy statements issued by the Sentencing Commission; (6) the need to

avoid unwarranted sentence disparities among defendants with similar records who have been

found guilty of similar conduct; and (7) the need to provide restitution to any victims of the

offense. 18 U.S.C. § 3553(a).*

       The need for deterrence, both general and specific, justifies a within-guideline sentence

of incarceration. The defendant’s conviction and sentence will serve as a warning to others

similarly situated that there are severe consequences to an activity that seems harmless and

victimless: trafficking in counterfeit and purportedly stolen merchandise. In fact, solely with

respect to the counterfeiting aspect of the defendant’s criminal conduct, this is a multi-billion

dollar criminal industry that deprives American companies of vast amounts of legitimate sales.

Counterfeit goods are simply another form of contraband, like narcotics, that can be trafficked

for high profits. If the sanction in this and similar cases is too lenient, others will be encouraged

to try their hand at such trafficking because, practically speaking, there would be little to lose by

such an attempt— certainly less to lose than the risks inherent in other contraband trafficking.

       Specific deterrence is also an important consideration in this case. Najjar knowingly

allowed co-defendant Moussa Hamdan to use the bank accounts of his companies to conduct and


*
        Further, the “parsimony provision” of Section 3553(a) states that “[t]he court shall
impose a sentence sufficient, but not greater than necessary, to comply with the purposes set
forth in paragraph (2) of this subsection.” The Third Circuit has held that “district judges are not
required by the parsimony provision to routinely state that the sentence imposed is the minimum
sentence necessary to achieve the purposes set forth in § 3553(a)(2). . . . ‘[W]e do not think that
the “not greater than necessary” language requires as a general matter that a judge, having
explained why a sentence has been chosen, also explain why some lighter sentence is
inadequate.’” United States v. Dragon, 471 F.3d 501, 506 (3d Cir. 2006) (quoting United States
v. Navedo-Concepcion, 450 F.3d 54, 58 (1st Cir. 2006)).
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hide criminal activity.    Indeed, Najjar used these same accounts — through which over

$10,000,000 flowed from international sources since mid-2006 — for the charged criminal

activity in this case. Such high-volume bank accounts allowed Hamdan to hide his criminal

transactions with relative ease.

       The defendant has already received extreme leniency through the parties’ plea

agreement. Further leniency is unwarranted. Rather, a sentence between 12 and 18 months

strikes the appropriate balance between compassion and recognition of the seriousness of the

defendant’s offense and the need to deter its commission by others.



IV.     CONCLUSION

       Accordingly, the government respectfully recommends a sentence within the range of 12

to 18 months imprisonment.



                                                     Respectfully submitted,

                                                     ZANE DAVID MEMEGER
                                                     United States Attorney


                                                      /s/
                                                     NANCY WINTER/STEPHEN MILLER
                                                     Assistant United States Attorney




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                                  CERTIFICATE OF SERVICE

             I hereby certify that on this date I caused a true and correct copy of the foregoing

Government's Sentencing Memorandum to be served by electronic mail upon counsel for

defendant:


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                                                      /s/
                                                     STEPHEN A. MILLER
                                                     Assistant United States Attorney



Date: June 7, 2010
